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Attorneys for Plaintiffs




                       IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                     MEDFORD DIVISION




CONCERNED FRIENDS OF THE WINEMA,                       Case No. 1:14-cv-737-CL
KLAMATH-SISKIYOU WILDLANDS CENTER,
WESTERN WATERSHEDS PROJECT,
OREGON WILD, and CENTER FOR                            STIPULATED SETTLEMENT
BIOLOGICAL DIVERSITY,                                  OF PLAINTIFFS’ MOTION
                                                       FOR ATTORNEYS’ FEES
                       Plaintiffs,                     AND COSTS

       v.

U.S. FOREST SERVICE, and U.S. FISH AND
WILDLIFE SERVICE,

                       Defendants,

       and

IVERSON MANAGEMENT LIMITED
PARTNERSHIP,

                       Defendant-Intervenor.
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       Plaintiffs Concerned Friends of the Winema, Klamath Siskiyou Wildlands Center,

Western Watersheds Project, Oregon Wild, and Center for Biological Diversity hereby submit

and respectfully request that the Court approve this stipulation memorializing their settlement

agreement providing for disposition of Plaintiffs’ Motion for Attorney Fees and Costs.

       Subsequent to Defendants’ notice of dismissal of their appeal of the judgment in this

case, Plaintiffs filed their timely Motion for Attorneys’ Fees and Costs in this matter on October

19, 2017, along with an accompanying motion to stay the briefing on Plaintiffs’ fee motion (Dkt.

Nos. 121, 122) to give the Parties time to negotiate fees and costs. A further extension of the

stay was sought and granted to continue negotiations (Docket Nos. 124, 125). The Parties have

now reached agreement on fees and costs to resolve Plaintiffs’ claim.

       Defendants agree to pay Plaintiffs $204,717.20 to settle Plaintiffs’ claim for attorney fees

and costs in this matter. Payment shall be made to Plaintiffs by electronic funds transfer to the

“Advocates for the West Lawyer Trust Account.” This trust account will receive the payment on

behalf of all Plaintiffs. Undersigned counsel for Plaintiffs shall provide the appropriate account

number and any other information needed to make payment to the undersigned counsel for

Defendants. Defendants agree to submit all necessary paperwork to process the payment within

thirty (30) business days of both the receipt of the signed court order approving this stipulated

settlement and Plaintiffs’ counsel having provided to Defendants’ counsel the necessary

information to process the payment to be made pursuant to this stipulation.

       Plaintiffs agree to accept this payment in full satisfaction of any and all claims for

attorney fees, costs and expenses to which Plaintiffs assert that they are entitled pursuant to the

Equal Access to Justice Act, 28 U.S.C. § 2412(d), and/or any other statute and/or common law
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theory, incurred in connection with this matter up to and including the date of this stipulated

settlement.

       No provision of this stipulated settlement shall be interpreted as or constitute a

commitment or requirement that the United States is obligated to pay funds in contravention of

the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other provisions of law.

       Under 31 U.S.C. §§ 3711, 3716; 26 U.S.C. § 6402(d); 31 C.F.R. §§ 285.5, 901.3; and

other authorities, the United States will offset against this award of fees and costs any delinquent

debts owed by Plaintiffs to the United States. See Astrue v. Ratliff, 560 U.S. 586 (2010).

       Plaintiffs’ counsel shall submit confirmation of receipt of payment in the above amount

to counsel for Defendants, within 10 days of receipt of payment. Upon receipt of the payment

agreed to by the Parties, Plaintiffs will withdraw their motion for attorneys’ fees and costs.

       The undersigned representatives of the Parties certify that they are fully authorized by the

respective Parties whom they represent to enter into the terms and conditions of this stipulated

settlement and to legally bind such Parties to it.

       IT IS SO STIPULATED.

DATED this 12th day of April, 2018.                   Respectfully submitted,



                                                      __s/Lauren M. Rule_____________
                                                      Lauren M. Rule
                                                      Elizabeth H. Potter
                                                      ADVOCATES FOR THE WEST

                                                      Attorneys for Plaintiffs



                                                      BILLY J. WILLIAMS
                                                      United States Attorney
                                                      District of Oregon



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                                         s/Sean E. Martin
                                        SEAN E. MARTIN
                                        Assistant U.S. Attorney

                                        Attorneys for Defendants




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